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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



FAIR FIGHT ACTION, INC, et al.,
     Plaintiffs,
     v.                                      Civ. Act. No. 18-cv-5391
                                             (SCJ)
BRAD RAFFENSPERGER, et al.,
  Defendants.



             EXPERT REPORT OF KEVIN J. KENNEDY
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                            Expert Report of Kevin J. Kennedy
                      Fair Fight Action, Inc., et al. v. Raffensperger, et al.
            U.S. District Court for the Northern District of Georgia, Atlanta Division
                                Civ. Act. No. 1:18-cv-05391-SCJ


Introduction

I have been asked to opine on the basic policies, procedures and practices that the Georgia
Secretary of State and the State Election Board must have in place in order to train county
election superintendents, registrars and poll workers to carry out their duties; and in order to
ensure that elections comply with state and federal election laws and the United States
Constitution; and whether those policies, practices and procedures are in place in Georgia.

To prepare this report, I have reviewed Plaintiffs’ Amended Complaint and numerous materials
produced in discovery. I have also reviewed Georgia state statutes, rules and regulations
pertaining to elections. In addition, I reviewed Plaintiffs’ expert reports prepared by Dr. Khalilah
L. Brown-Dean and Dr. Adrienne Jones. A more comprehensive description of the facts, data
and materials I have examined and considered in preparing this report is set out in Appendix A.

In developing the conclusions described in this report I have drawn on my experience and
expertise as an administrator, consultant and attorney actively involved in election administration
at the state, local and national level since April 1, 1979. My opinions reflect on the offices of the
Secretary of State and State Elections Board, not the individuals holding those positions or
agency employees.

Synopsis

There is a basic training and monitoring framework a chief state election official must have in
place to ensure that local election officials know and are carrying out their responsibilities to
fairly and effectively administer elections conducted in the chief state election official’s
jurisdiction and to protect the voting rights of state voters.

The Georgia State Election Board and the Georgia Secretary of State are required by law to train
local election officials in their election administration duties and responsibilities and ensure their
performance conforms to Georgia and federal law.

Although the Georgia Secretary of State has developed a large portfolio of training materials and
methods for county superintendents and registrars since 2012, that portfolio is lacking key
ingredients required to ensure Georgia elections are administered fairly, effectively and in a
uniform manner that protects the voting rights of Georgia electors. Only a small part of that
portfolio is directed to the training of poll workers.



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In order to be effective, the training protocols of the Georgia Secretary of State must address
significant challenges presented by the large number of local election officials, a diverse voter
population along with evolving legal and technological complexity in election administration.

The Georgia Secretary of State’s training does an effective job of providing county
superintendents and registrars with information, guidance and support with its complex
electronic election administration tools. However, electronic election administration tools are just
one component of election administration.

The Georgia State Election Board and Secretary of State need to be more proactive in ensuring
that local election officials are carrying out their election administration responsibilities to ensure
all voters are able to fully participate in Georgia elections.

The Georgia State Election Board and Secretary of State need to better track and analyze in a
comprehensive, transparent manner recurring voter issues that impact individuals’ voting rights.

Professional Background

I served as Wisconsin’s Chief Election Officer for more than 33 years, including an initial 8½
months in an acting capacity before my permanent appointment on August 17, 1983, by the
Wisconsin State Elections Board. In my capacity as chief state election officer, I served at the
pleasure of two different executive branch state agencies run by independent citizen boards. The
Wisconsin State Elections Board was an independent, bipartisan citizen board responsible for the
administration and enforcement of Wisconsin election and campaign finance law from July 1,
1974, through January 8, 2008.

In January, 2007, legislation was enacted creating the Wisconsin Government Accountability
Board (GAB). i The GAB was an independent, nonpartisan citizen board comprised of former
state judges responsible for the administration and enforcement of Wisconsin election, campaign
finance, ethics and lobby law from January 9, 2008, through June 29, 2016. The legislation
creating the GAB combined the former State Elections Board and former State Ethics Board into
a single independent state agency. After a national search, I was selected as the Director and
General Counsel for the Wisconsin Government Accountability Board on November 5, 2007. I
held that position until the dissolution of the GAB on June 29, 2016. ii

I have been actively involved in election administration as an administrator, consultant and
attorney since April 1, 1979, at the state, local and national level. In addition to my service as
Wisconsin’s Chief Election Officer, I have served on several national task forces, committees
and working groups focused on developing, implementing and administering innovations in
election law.

Currently I serve on the Boards of Directors of two non-profit organizations focused on
improving the administration of elections: Center for Election Innovation and Research iii (Vice-
President and Treasurer) and U.S. Vote Foundation iv (Director). I also serve on the Advisory
Board for the MIT Election Data Science Lab. v




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Last year I completed service on the Committee on the Future of Voting: Accessible, Reliable,
Verifiable Technology for the National Academies of Sciences, Engineering and Medicine. That work
resulted in the publication and release of a nationally acclaimed consensus report: Securing the Vote:
Protecting American Democracy. vi

In addition, I have served as an election inspector (poll worker) and chief inspector-in-training
for the City of Madison, Wisconsin since the beginning of 2018. A copy of my resume follows
the substantive report.

In these capacities I have overseen and supervised the development, implementation and
application of a wide range of election official training. I have also participated in extensive
election official training at the local, state and national level.

Along with this case, I am currently serving as an expert witness in Louis M. Bouvier, Jr. v.
William Clark Porter, IV, No. 17 CVS 3273 (N.C. Super. Ct., Guilford Cty.). During my service
as Wisconsin’s chief election officer I have testified on numerous occasions as a fact witness and
an expert in election and campaign finance law. Most recently I was called adversely by the
plaintiffs as the lead witness in litigation challenging a series of voting restrictions enacted into
Wisconsin law in the 2011-12 and 2013-14 legislative sessions. One Wisconsin Institute, Inc. v.
Mark L. Thomsen, No. 3:15-cv-00324-jdp (W.D. Wis.)

I am being compensated at the rate of $175 per hour for my work in this case.

In order to provide context for my analysis of the basic training policies, procedures, and
practices that the Georgia Secretary of State and the State Election Board must have in place, I
describe my experience with election official training at the state, local and national level in
more detail in the following section of this report.

Experience with Election Official Training

In 37 years as a state election official beginning on April 1, 1979, and the three plus years since I
left government service on June 29, 2016, I have had extensive experience with election official
training at the state, local and national level.

Wisconsin law requires the state elections agency (initially the State Elections Board, then the
Government Accountability Board and now the Wisconsin Elections Commission) to conduct
regular information and training meetings at various locations in the state for county and
municipal clerks and other election officials. vii This requirement has been in place since July 1,
1974, when the responsibility for administering elections was removed from the Office of
Secretary of State and placed under the direction of an independent executive branch agency. viii
These information and training meetings must be designed to explain the election laws and the
forms and rules of the state elections agency, to promote uniform procedures and to assure that
clerks and other election officials are made aware of the integrity and importance of the vote of
each citizen. ix




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In Wisconsin, the 1,850 municipal clerks are responsible for conducting elections for federal,
state and local offices and referenda. This includes selecting and training poll workers;
establishing, equipping and supplying polling places; registering voters; administering absentee
voting by mail and in-person; and overseeing voting on Election Day. x

Wisconsin’s 72 county clerks also play a significant role in the administration of elections.
County clerks are required to publish election notices for county, state and federal elections;
prepare ballots and program voting equipment for county, state and federal elections; and
canvass and certify election results for county, state and federal elections. xi

The state elections agency is required to prepare and publish an elections manual for local
election officials. xii The election manual is required to be written so as to be easily understood by
the general public explaining the duties of election officials. An essential element of the election
manual is a statutory requirement to emphasize the fact that election officials should help, not
hinder, electors in exercising their voting rights. During my tenure with the Wisconsin
independent election agencies I authored versions of the manual and directed the preparation of
later versions as the agency staff expanded.

In my role as legal counsel and then administrative director of the Wisconsin state elections
agency I was actively involved in planning, designing, developing and vetting training materials
and programs for local election officials. Initially as legal counsel, and as executive director, I
personally presented the bulk of the training for local election officials in administrative
meetings as well as regional and statewide conferences of local election officials.

I was primarily responsible for writing the election manual and presenting it for approval by the
Board. As the agency staff increased I was able to delegate the responsibility for maintaining and
updating the election manual to our two agency election specialists. They were also able to assist
in making in-person presentations. We also utilized the services of the University of Wisconsin
Extension to conduct electronic presentations through the Extension’s statewide
telecommunications network.

Following the 2000 Presidential election, increased emphasis was focused on local election
official and poll worker training. Wisconsin law was amended to require training and
certification of the chief election inspector at each of the approximately 3,000 polling places in
the state. xiii The requirements of the training and certification program were developed under my
direction and promulgated as rules in the Wisconsin Administrative Code. xiv

Certification of municipal clerks was added to Wisconsin law in 2006. xv The requirements and
content of the training and certification program were also developed under my direction and
promulgated as administrative rules in the Wisconsin Administrative Code. xvi

At the national level, in 2003 I completed the Certified Election and Registration Administrator
Program (CERA) offered by the Election Center. xvii During my tenure as a state election official
I completed the CERA recertification process every three years through 2018. The Election
Center is a 501(c)(3) organization dedicated to the training and certification of state and local




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election officials. xviii I served on the Professional Education Program Committee of the Election
Center for several years until 2017.

As a member of the National Academies of Sciences, Engineering and Medicine Committee on
the Future of Voting: Accessible, Reliable, Verifiable Technology I wrote the section on Election
Administrator and Poll Worker Training for the Committee’s report: Securing the Vote:
Protecting American Democracy. xix

During my time as Wisconsin’s chief election officer, I spent many elections observing the
voting process at the polls and early voting locations throughout the state. On many occasions I
escorted international observers and U.S. Elections Assistance Commission members and staff
on these observations. From 2008 through 2016 I visited polling places for every scheduled
election as well as numerous early voting locations in the two weeks before Election Day.

In my role as a poll worker for the City of Madison, Wisconsin I have taken pre-election online
training before each of the four elections I worked since 2018. In January 2019, I completed the
Chief Election Inspector certification program. This is the same program whose implementation
and development I directed in 2002, following the legislative mandate for the program.

Opinions and Analysis

In my analysis, references to elections includes primary, general and special elections and
referenda. Unless otherwise specifically indicated references to election officials includes
registrars, superintendents of elections, poll managers, poll officers, absentee ballot clerks and
staff of the Office of Secretary of State. References to poll workers includes poll managers, poll
officers, clerks and other election officials appointed by the superintendent to work at the polling
place or advance voting location.

There is a basic training and monitoring framework a chief state election official must have in
place to ensure local election officials know and are carrying out their responsibilities to fairly
and effectively administer elections conducted in the chief state election official’s jurisdiction
and to protect the voting rights of voters.

Laws governing the duties of a chief state election official and training requirements for local
election officials vary among the states. However, state and federal law along with the evolution
of election administration since the 2000 presidential election suggest that there is a threshold
foundation for training and holding election officials accountable that must be in place under the
direction of the chief state election official to ensure elections are administered in a fair, uniform
and transparent manner.

Both Georgia and Wisconsin assign this responsibility to the chief state election official by
requiring training of local election officials and the development of a certification program for
local election officials. Georgia requires the Secretary of State to conduct annual training
sessions with superintendents of elections and registrars. O.C.G.A. § 21-2-50(a)(11). Wisconsin
requires the state election agency to conduct regular information and training meetings at various
locations in the state for county and municipal clerks and other election officials. Wis. Stat



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§ 5.05(7). Other states have similar provisions.

The first major infusion of federal funds to address the nationwide fallout from the 2000
presidential election included a major component for training local election officials. The Help
America Vote Act of 2002 (HAVA) was enacted to provide assistance with the administration of
certain federal election laws and programs and establish minimum election administration
standards for states and local units of government responsible for administering those laws. xx
HAVA put the onus for implementation of its provisions on the chief state election official. 52
U.S.C. § 21003(e).

HAVA Section 101 payments were made available to all states immediately upon passage of the
Act. xxi These payments were designated to improve the administration of elections. One of the
specified permissible uses for the payments was for training election officials, poll workers and
election volunteers. Id. § 20901(b)(1)(d).

These payments for training underscored the importance of ensuring election officials and poll
workers had the information, knowledge and skills essential to conducting fair and uniform
elections. HAVA also introduced and funded technology upgrades for the administration of
elections including statewide electronic voter registration systems, electronic voting equipment
and requirements for voting accessibility for persons with disabilities and voters in need of
language assistance. A separate pool of HAVA payments to states through the Department of
Health Services to improve voting accessibility for persons with disabilities includes provisions
for training election officials, poll workers and election volunteers on how to best promote
access and participation of individuals with disabilities in elections. Id. § 21021(b)(2).

The technology upgrades mandated under HAVA along with specific provisions for training
election officials and poll workers demonstrate the importance of a robust state-directed training
portfolio for local election officials and poll workers to ensure they are carrying out their
responsibilities to administer fair and uniform elections. Other federal laws have created similar
significant changes in election administration for state and local election officials to ensure fair
and uniform elections. While these laws have not provided funding or specifically authorized
election official or poll worker training, the new federal requirements necessitated enhanced
training for local election officials and poll workers.

The Voting Rights Act of 1965 (VRA) xxii and the National Voter Registration Act of 1993 xxiii
(NVRA) are the best examples of comprehensive federal provisions that require a knowledgeable
workforce of election officials and poll workers to ensure that voters are provided the fair and
uniform treatment required by law. These laws, along with the Uniformed and Overseas Citizens
Absentee Voting Act (UOCAVA) xxiv and the Voting Accessibility for the Elderly and
Handicapped Act, xxvprovide essential protections for voters to ensure citizens have equal access
and opportunity to fully participate in federal elections. A comprehensive training program for
election officials and poll workers is essential to ensuring voting rights are protected.

Following the 2000 presidential election, I was among a group of state and local election
officials organized by the Election Center to meet with Members of Congress and their staff as
they worked on legislation that became the Help America Vote Act of 2002. One key takeaway



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from these discussions that resonated with me was the idea that the proposed legislation was
going to make available early money to enable state officials to adequately plan for the
implementation of new federal requirements and quickly address chronic issues including
election official and poll worker training. Congressional staffers viewed this as a lesson learned
from experience with the haphazard implementation of the NVRA.

This idea was manifested in the HAVA Section 101 payments. The fourth item of the eight
permitted uses of these payments is training election officials, poll workers and election
volunteers. 52 U.S.C. § 20901(b)(1).

The latest infusion of federal funds for improving the administration of elections adds more
levels of complexity for election officials and poll workers. In 2018, Congress authorized $380
million in payments to the states as part of the Consolidated Appropriations Act of 2018 to
improve the administration of federal elections including to enhance technology and make cyber
security improvements. Congress chose to fund the payments through HAVA Section 101. This
infusion of federal funds also entails training local election officials to ensure the efficacy of the
funding.

The elaborate framework of state and federal laws designed to facilitate voter participation
requires a comprehensive, robust training program to ensure election officials at all levels are
able to carry out their responsibilities. This cannot be done by occasional meetings supplemented
by a written manual which may or may not be accessible online. The audience of election
officials is too large and diverse for a limited training endeavor. The many layers of regulations
is too vast to distill into a cursory presentation supported by a voluminous set of materials. The
process of conveying complex requirements with a range of exceptions in legalese is too fraught
with confusion to risk not properly explaining what is expected of election officials and poll
workers. The increased reliance on technology in election administration requires a supportive
approach to ensure election officials and poll workers are able to effectively use the electronic
tools available to them.

According to the 2016 Election Administration and Voting Survey, xxvi Georgia had 20,062 poll
workers in the 2016 presidential election. Along with the superintendents of election, registrars
and their staff in 159 counties, this constitutes a large number of election officials requiring
comprehensive training. They all have different informational needs and more importantly
different ways of learning. Superintendents and registrars need to see the big picture of election
administration as well as the detailed steps necessary to carry out their tasks. They also need to
have the resources and knowledge to properly train their poll workers.

Poll workers do their work a few times a year. They need to be thoroughly trained in their
Election Day responsibilities and brought up to date on changes since the last time they worked.
They also need access to information to resolve critical issues that occur at the polling place,
such as how to resolve a provisional ballot issue. Because poll workers tend to be elderly
compared to the rest of the election official population, they will have different learning styles
and will need easily accessible support to assist in making crucial Election Day decisions.




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I have described a number of federal election laws that election officials need to be familiar with
along with the Georgia Elections Code and State Election Board rules. The training protocol has
to account for all of these requirements, regulations and rules. This is an immense amount of
information that has to be accessible to election officials and poll workers.

These requirements, regulations and rules are not written in plain English. They must be
presented in language that is easy for a diverse audience to understand. While poll workers are
required to read, write and speak English, they will have to convey information to voters who are
not as conversant. xxvii They may also bring their experience of English as a second language to
their training. The presentation and content of training materials need to be easily understood by
the target audience of election officials and poll workers.

Administering elections is driven by technology. The days of operating a polling place out of
supplies contained in a shoebox are long gone. In Georgia new voting technology was introduced
in 2002. That voting equipment is scheduled for replacement in 2020. Training election officials
and poll workers in the use of new technology requires a hands-on approach in addition to
demonstration of the equipment capabilities and making user manuals available. The information
in user manuals will have to be distilled into checklists and step-by-step instructions to ensure
election officials and poll workers can easily do their work and resolve problems.

There also have to be accountability mechanisms included as part of the training program if the
program is to be effective. This includes a test or assessment to ensure the election officials and
poll workers have learned the information presented. It also includes a method for reviewing
their performance such as an audit. There must also be clear procedures for identifying and
tracking errors or failure to perform required duties and holding individuals accountable.

Finally, the training protocols must be accessible to the public. Transparency enables voters and
community groups the opportunity to assess the quality of the training program. Feedback from
outside the narrow world of election administrators ensures critical issues are being addressed
and provides for an additional level of accountability. It also engenders public confidence in the
electoral process.

In sum, a statewide training protocol must be comprehensive both in scope to cover all
regulatory requirements and in breadth to ensure all essential election personnel are reached. The
training portfolio must be easily accessible to election officials and poll workers. The training
must be presented in a variety of formats to enable election officials and poll workers the best
opportunity to absorb the information. There must be accountability measures in place to assess
the viability of the program and ensure participants are responsible for their performance. The
full training program must be transparent and accessible to the public.

The Georgia State Election Board and the Georgia Secretary of State are required by law to
train local election officials in their election administration duties and responsibilities and
ensure their performance conforms to Georgia and federal law.

The State Election Board is required to promulgate rules and regulations to ensure uniformity in
the practices and proceedings of superintendents, registrars, deputy registrars, poll officers and



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other election officials. O.C.G.A. § 21-2-31(1). The Board is also required to formulate, adopt
and promulgate rules and regulations consistent with law that will be conducive to the fair, legal
and orderly conduct of elections. O.C.G.A. § 21-2-31(2). Finally, the Board is required to
promulgate rules and regulations to define uniform and nondiscriminatory standards on what
constitutes a vote and what will be counted as a vote. O.C.G.A. § 21-2-31(7).

Upon adoption, the Board is required to file certified copies of the rules and regulations with the
Secretary of State and each superintendent of elections. O.C.G.A. § 21-2-31(2). The Board is
also required to publish and furnish to election officials indexed copies of current election laws,
rules and regulations. O.C.G.A. § 21-2-31(3).

The State Election Board has the authority to fine registrars and superintendents of elections and
their government authority employer for failure to attend training or complete the required
certification. O.C.G.A. §§ 21-2-100(e), 21-2-101(d). The Board may require additional or
remedial training or limit, suspend or revoke a superintendent of elections for a violation of Title
21, O.C.G.A. or any rule, regulation or order issued by the Board. O.C.G.A. § 21-2-101(e). The
State Election Board is authorized to promulgate, amend or repeal rules and regulations to
implement and enforce the training and certification requirements. O.C.G.A. § 21-2-101(f).

The State Election Board is required to investigate the administration of election laws and frauds
and irregularities in elections. O.C.G.A. § 21-2-31(5). Among the available resolutions of these
investigations is the issuance of a letter of instruction to local election officials or the imposition
of a civil monetary penalty on local election officials. See Deposition of Chris Harvey, 117:8-
120:5 (Aug. 16, 2019); Depositions of State Elections Board Members Seth Harp, 28:9-29:2
(Oct. 16, 2019); Rebecca Sullivan, 76:22-78:8 (Oct. 15, 2019); and David Worley, 108:12-
109:16 (Oct. 10, 2019).

Implicit in the requirements for the State Election Board to promulgate rules and regulations and
investigate election administration, fraud and irregularities is the responsibility for the Board to
ensure local election officials are apprised of their responsibilities and the consequences of
failure to carry out their duties. Because the State Election Board has no staff and only meets
sporadically, this responsibility appears to have devolved upon the Secretary of State, who serves
as Chair of the State Election Board. O.C.G.A. § 21-2-30(d).

Since 2012 the State Election Board has met an average of slightly more than 4 times a year
including just two meetings in 2017 and three in 2019. xxviii Board Members have indicated they
have very little contact with local election officials. Depositions of State Elections Board
Members Seth Harp, 36:21-37:9 (Oct. 16, 2019); Rebecca Sullivan, 24:22-27:10, 48:25-49:22
(Oct. 15, 2019); and David Worley, 109:17-110:7 (Oct. 10, 2019). Board members have also
stated that they have not received any training in their duties and responsibilities. Rebecca
Sullivan, 20:7–9 (Oct. 15, 2019); Seth Harp, 7:25-8:6, 23:3-9 (Oct. 16, 2019); David Worley
10:6-12 (Oct. 10, 2019).

Georgia law specifically requires the Secretary of State to conduct annual training sessions for
registrars and superintendents of elections. O.C.G.A. § 21-2-50(a)(11). The Secretary of State is
also required by law to carry out specific election-related tasks in coordination with local



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election officials that necessitate ensuring local election officials have the direction and
information essential to complying with directives from the Secretary of State. These include
certifying the names of candidates in substantially the form of ballots to superintendents of
elections, furnishing election forms and supplies to superintendents of elections with the
appropriate instructions for their use, maintaining the official list of registered state voters and
developing, programing, building and reviewing ballots on voting systems in use in the state.
O.C.G.A. § 21-2-50(a)(4), (5), (14), (15).

All county and municipal election superintendents, chief registrars and absentee ballot clerks
along with other specified election officials are required to complete a certification program
approved by the Secretary of State within six months of appointment. The program shall not
exceed 64 hours and may include instruction on the operation of voting equipment along with
state and federal law and procedures related to elections. O.C.G.A. § 21-2-101(a).

The election superintendent and at least one registrar—or in counties with boards of election or
combined boards of election and registration—a board member or designee of the board, are
required to complete a minimum of 12 hours training annually. In municipalities, the election
superintendent and at least one registrar shall complete a minimum of 12 hours training
biennially. The Secretary of State selects the training. O.C.G.A. § 21-2-100(a).

In addition to this state mandated training, there are also several essential federal laws whose
complex provisions necessitate training local election officials and poll workers to ensure the
voting rights protected by federal law are protected in practice by state and local election
officials.

These laws protecting citizen voting rights include the Voting Rights Act of 1965, the National
Voter Registration Act of 1993, the Uniformed and Overseas Citizens Absentee Voting Act, the
Voting Accessibility for the Elderly and Handicapped Act and the Help America Vote Act of
2002. The State Election Board and the Secretary of State cannot be confident these laws are
administered in a consistent and uniform manner unless the county election officials and poll
workers are effectively trained in the requirements of these critical federal laws.

Although the Georgia Secretary of State has developed a large portfolio of training materials
and methods for county superintendents and registrars since 2012, that portfolio is lacking key
ingredients required to ensure Georgia elections are administered fairly, effectively and in a
uniform manner that protects the voting rights of Georgia electors. Only a small part of that
portfolio is directed to the training of poll workers.

In preparation of this report I have reviewed a large amount of training materials and information
provided by the defendants in discovery. For purposes of my report, I focus on The Poll Worker
Manual, 2018 Edition and 5,148 pages of PowerPoint presentations. This part of the discussion
focuses on the PowerPoint presentations, not on the poll worker manual.

Although many of the presentations are undated, the materials appear to be arranged
chronologically. Most presentations seem to be connected with annual conferences of the
Georgia Election Officials Association (GEOA), the Voter Registrars Association of Georgia



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(VRAG) and combined meetings of the two organizations of local election officials. The first
referenced conference is the May 2012 GEOA conference and the last referenced conference is
the March 2018 VRAG/GEOA combined conference. xxix I am aware that there will be a state
conference in December 2019 as well.

The Secretary of State’s Elections Director, Chris Harvey, refers to these conferences as the
primary opportunity to train local election officials. Deposition of Chris Harvey, August 16,
2019, 30:20-35:20. Notably, other local election officials including poll workers and poll
managers do not participate in these conferences. There are no statewide meetings designed to
reach poll workers and the Secretary of State does not do anything to ensure information from
these conferences reach those front line election officials.

The majority of the presentations were done by staff from the Office of the Secretary of State.
They were responsible for 89 of the 160 different sets of training materials.

Presentations ranged from professional development such as The Art of Communicating (State-
Defendants 00002381) to high level discussions with historical perspective such as Setting the
Stage - How Did We Get to Where We Are Now? (State-Defendants 00002852) along with
legislative updates. The bulk of the presentations focused on detailed step-by-step procedures to
carryout specific election administration tasks such as UOCAVA Voters: Mail and Electronic
Ballot Delivery (State-Defendants 00003080). As new technology was implemented, like the
new Georgia Voter Registration System, the presentations included screen shots from the
technology platforms. Overview of GVRS (State-Defendants 00003682).

Local election officials provided the next highest number of presentations. These presentations
generally focused on successful local election administration initiatives such as Ballot On
Demand from Athens-Clarke County (State-Defendants 00003201) to best practices for required
duties such as Absentee Reconciliation from Gwinnett County (State-Defendants 00006168).

Staff from Kennesaw State University Center for Election Systems (KSU) also provided a large
number of presentations. KSU has played an integral role in Georgia election administration
since the acquisition of a uniform touch screen electronic voting system in 2002. The KSU
Center for Election Systems was responsible for maintaining and programming the voting
equipment in a partnership with the Office of the Secretary of State and local election officials.
KSU presentations ranged from detailed step by step programming procedures such as Creating
and Saving Export Files in GEMS (State-Defendants 00002557) to high level discussion of
issues faced by election officials such as General Security Concepts and Terms (State-
Defendants 00006732).

The relationship between Kennesaw State University and the Office of Secretary of State ended
in late 2017 or early 2018. Some staff from the KSU Center for Election Systems moved to the
Secretary of State’s office to continue to support state and local election officials.

Presentations also were provided by representatives from other government offices such as the
Georgia Government Transparency and Campaign Finance Commission, Update on Georgia
Campaign Finance Law and Filing Requirements (State-Defendants 00006677). On occasion



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federal agencies also played a role in the conference presentations: What FVAP Can Do for
Georgia UOCAVA Voters (State-Defendants 00002577) from the U.S. Department of Defense
Federal Voting Assistance Program and Election Infrastructure Security Initiative (State-
Defendants 00007452) from the U.S. Department of Homeland Security.

The training materials reference other modes of training made available to local election officials
by the Secretary of State besides the conference PowerPoint presentations. The voter registration
system and electronic voting equipment are supported with print and electronic manuals. There
were also a series of video tutorials covering a wide range of election administration subjects
available on the eLearn platform.

In 2015 eLearn was replaced with Firefly. Firefly is an electronic searchable document
repository developed and maintained by the Office of Secretary of State and available to local
election officials. Firefly is accessible to county superintendents and registrars through a
controlled access system. References to Firefly appear in materials presented at the May 2015
GEOA conference. (State-Defendants 00004630, 00005098, and 00005118). I was not provided
access to Firefly.

A small number of Georgia election officials also participate in the training opportunities
provided by the Election Center. The Election Center offers special two-day workshops in
February and April of each year along with a three-day Annual Conference in August. The
Election Center in conjunction with faculty from Auburn University administers a nationally
recognized election official certification program.

The Certified Election and Registration Administrator (CERA) core curriculum program consists
of 12 day-long and half-day courses covering a range of election administration areas including
Management and Leadership Concepts; Planning and Budgeting; Facilitating Voter
Participation; Enfranchisement, Enhancement & Enforcement: Modern Federal Election Law
and Regulation; and the History of Elections. Appendix B contains a full list of the core courses
along with a description of the core competencies of the course materials. These core courses are
required as part of the initial CERA certification.

According to the Election Center website only six current Georgia election officials have
completed the CERA certification program. xxx A total of 12 Georgia election officials are
included among the 1,208 CERA graduates since the first class of graduates in 1995. Election
Center staff has informed me that there are presently 34 Election Center members from Georgia
including 11 in the Office of the Secretary of State. xxxi

The Election Center provides an opportunity to bring fresh ideas and innovations to Georgia’s
election officials training program. Participation by all county superintendents and registrars is
essential to ensure a more professional cadre of local election officials with a broader perspective
on their role in ensuring fair and effective administration of Georgia elections and protection of
the voting rights of Georgia citizens.




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In order to be effective, the training protocols of the Georgia Secretary of State must address
significant challenges presented by the large number of local election officials, a diverse voter
population along with evolving legal and technological complexity in election administration.

Training local election officials in Georgia presents some unique challenges. These challenges
arise from the large number of local election officials and the differing organizational structure
of election administration among Georgia counties. Georgia’s history of restricting the vote of
citizens of color also significantly impacts training approaches.

County, state and federal elections are administered at the county level in Georgia’s 159
counties. Only Texas has more counties responsible for election administration. xxxii There are
103 Combined Boards of Elections and Voter Registration. Elections in 53 counties are
administered by a probate judge and registrar and three counties have an election supervisor and
registrar. (State-Defendants 00002408).

Wisconsin has an even larger number of local election officials. Elections are conducted at the
municipal level in the state’s 1,850 towns, villages and cities. In addition, the 72 counties also
have significant election responsibilities. From my 30 plus years of experience as Wisconsin’s
chief election official, I can describe the challenges presented in establishing and maintaining an
effective training program for a large, diverse group of local election officials.

The Georgia Secretary of State has a variety of training challenges based on the number of local
election officials. Establishing a communication protocol is the foundation for effective training.
Information needs to be delivered in a timely and efficient manner. The Secretary of State cannot
rely on just one channel of communication such as email or providing internet access to a central
contact point to convey important information. It is essential that the Secretary of State identify
and utilize multiple communication channels when reaching out to local election officials.

For example, as a result of litigation in 2018 and other years, the Secretary of State was required
by the courts to issue several Official Election Bulletins (OEBs) to county election officials to
ensure federal court orders were carried out. In their depositions Elections Director Chris
Harvey, Deputy Elections Director/Deputy General Counsel Kevin Rayburn and State Election
Board Member David Worley described the distribution of these OEBs. xxxiii

They were emailed to county election officials and posted on Firefly. However, there was no
mechanism in place to ensure the county election officials received, reviewed and implemented
the OEBs. There must be a requirement that county election officials report back to the Secretary
of State that they have received the OEBs, reviewed the content of the OEBs and taken steps to
implement the court ordered requirements spelled out in the OEBs including directing poll
workers and other front line election workers to carry out their duties consistent with the court
directives.

Tracking names and contact information of county election officials is also a challenge. There
will be constant turnover due to the expiration of terms, resignations, retirement, health issues
and in some cases death of local election officials. Not only must contact information be kept




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current, but tracking compliance with training requirements and election-driven deadlines is a
responsibility of the Secretary of State that presents logistical challenges.

In developing and implementing training programs, the Secretary of State needs to focus on
teaching challenges due to age, background and learning styles of the local election officials.
While these differences may not be tracked, they have to be accounted for in each presentation
and the overall training curriculum.

The Secretary of State has to also evaluate what information is the most essential to focus on at a
given point in time. New technology such as voting equipment often drives the content of
training, but certain election administration tasks present recurring challenges. Absentee voting
and provisional ballots are examples that all election officials need to be attentive to – especially
given the consequences of any error.

Georgia’s history of restricting access to the ballot for citizens of color also presents significant
challenges to an effective training program. Georgia was one of several states identified in the
Voting Rights Act of 1965 that drew special scrutiny because of past practices of election
discrimination based on race. This should be addressed in a straight forward manner in training
for local election officials and poll workers. Leaving this history of discrimination unspoken
when presenting information about election officials’ duties creates the impression treating all
voters equally and fairly is not a paramount responsibility for doing their job.

Until the U.S. Supreme Court decision in Shelby County v. Holder, 570 U.S. 529 (2013), all
voting changes in Georgia were required to be precleared by the U.S. Department of Justice.
Preclearance provided training challenges for Georgia election officials that still persist. Even
without preclearance requirements any voting change made by local election officials will be
scrutinized and questioned. It has to be stressed in training protocols how important it is for local
election officials to ensure any voting change does not have a disparate impact on voters of
color.

This description of the challenges faced by the Secretary of State in developing and
implementing a comprehensive training program sets a high bar for the Secretary of State and the
State Election Board to ensure local election officials and poll workers have the information and
tools required to do their jobs. In a subsequent section I describe how the current training does
not measure up to this mark.

The Georgia Secretary of State’s training does an effective job of providing county
superintendents and registrars with information, guidance and support with its complex
electronic election administration tools. However, electronic election administration tools are
just one component of election administration.

Technology has become an integral part of administering elections since the 2000 election. The
Help America Vote Act of 2002 (HAVA), 52 U.S.C. §§ 20901 et seq., provided the impetus with
requirements for a computerized list of registered voters maintained at the state level, accessible
voting equipment for voters with disabilities, uniform voting equipment standards and
requirements for tracking and accessing the status of provisional ballots. Georgia implemented a



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single system of electronic voting in 2002 and developed a statewide voter registration system to
comply with HAVA.

The partnership with Kennesaw State University’s Center for Election Systems provided a
central point of focus for state and local election officials for the programming and maintenance
of the voting equipment. When Georgia implemented electronic poll books KSU helped ensure
uniform procedures and practices were implemented statewide.

In 2015, the Secretary of State rolled out a new statewide voter registration system. The training
materials demonstrate a deep dive into the nuts and bolts of the new system. The PowerPoint
presentations have step by step instructions along with screen shots for guiding local election
officials in the training sessions. The presentations refer to user manuals that were distributed at
the sessions and available in electronic form through Firefly. (State-Defendants 00005001-
00005023).

This “in the weeds” detailed level of technology training is one of the stronger aspects of the
programs developed by the Office of the Secretary of State. However, electronic election
administration tools are just one component of election administration. The Secretary of State
needs to make all aspects of its training program comprehensive enough to ensure local election
officials and poll workers are treating voters in an equal, fair and uniform manner,

The Georgia State Election Board and Secretary of State need to be more proactive in
ensuring that local election officials are carrying out their election administration
responsibilities to ensure all voters are able to fully participate in Georgia elections.

The State Election Board and Secretary of State need to be more proactive in ensuring that local
election officials are carrying out their election administration responsibilities to ensure all voters
are able to fully participate in Georgia elections. In particular Georgia training programs should
be more voter-centric with an emphasis that election officials and poll workers should help, not
hinder, citizens exercising their voting rights and emphasize the integrity and importance of the
vote of each citizen.

This includes training for State Election Board Members who presently receive no training about
their duties or how the Georgia election system works. It is incomprehensible that citizens should
be asked to serve on a Board charged with the oversight of election administration and
enforcement of election laws, rules and regulations without receiving any training.

For example, in Wisconsin when a new member was appointed to the Government
Accountability Board, I set up a half-day training for the new member. The training included
presentations from several different staff members, along with a briefing on pending cases and a
review of the agency website. We also demonstrated the use and capabilities of agency electronic
platforms such as the statewide voter registration system, complaint tracking data base and
election official training portal. This provided the new Board Member with a solid background
before participating in Board meetings.




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From my perspective, there are four crucial elements missing from the State Election Board and
the Office of Secretary of State training and enforcement of state and federal election law. The
first element is a focus on serving the voter from registration to voting to dealing with ballot
issues. The second element is a comprehensive training program for poll officers and poll
workers directed by the State Election Board and the Office of Secretary of State. The third
element is a consistent regimen of accountability for election officials’ performance. The final
element is transparency.

Focus on the Voter

Complying with statutory requirements, rules and regulations appears to be the primary focus of
the current training programs along with detailed instruction on working effectively with election
technology. While this is important and essential to a smooth functioning election, it alone does
not protect voters’ rights.

Elections are the event where voters have the opportunity to shape government by choosing their
elected officials. There needs to be more of a voter-centric focus to the overall training program.
Facilitating voter participation is a core value of election administration. There needs to be a
strong message imbued into the training that emphasizes serving the voter. This is not an element
in the Secretary of State’s training materials.

This must be reflected in an emphasis on making voting easy, accessible and transparent. This
requires a focus not only on accessibility for persons with disabilities, but selecting locations and
setting hours that enable voters to easily get to the voting location. This is essential in ensuring
that advance voting and Elections Day voting are accessible to all voters.

A voter-centric focus will also mitigate the impact of discrimination in the voting process
directed towards persons of color. This is important in establishing voter confidence in the
Georgia electoral process. The conference training materials on the Voting Rights Act were
limited to a description of the law. There was no discussion on how Voting Rights Act is voter
focused to ensure all voters have an equal opportunity to participate in the electoral process.

Training scenarios that deal with resolving voter problems are a key component for a
comprehensive and effective training protocol. Absentee voting and the issuance of provisional
ballots commonly present the most challenges to poll workers. From my experience training
local election officials, observing poll workers at the polls on Election Day and working as a poll
worker, absentee voting and processing absentee ballots comprise the largest segment of election
administration issues. Developing training scenarios that illustrate the problem and the options
for resolution must be an integral part of the Secretary of State’s training program.

For example, many of the Election Day complaints fielded by Chris Harvey and Kevin Rayburn
in November 2018 dealt with individuals with questions about their registration status and voting
location. This led to concerns about issuing provisional ballots. There were also numerous
questions about absentee voting. A well-designed poll worker training program implemented
statewide would provide scenarios dealing with the situations encountered by voters.




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This would enable state and local election officials to work out resolutions to these frequently
encountered problems in advance of voting. It would provide poll workers with a road map for
addressing these issues. If made publicly available, it would provide an opportunity for voters
and the media to see what is expected of election officials and how particular issues are resolved.

This voter-centric approach only works if the State Election Board and the Office of Secretary of
State incorporate it in their training materials and require its use for poll workers as well as
county election officials. This training approach would send a message to everyone involved in
the electoral process, from poll workers to county election officials to voters to candidates, that
enabling full participation by all voters is the foundation for conducting Georgia elections.

Mandatory Uniform Training Protocol for Poll Workers

The voter is the central focus of administering and conducting elections. The Secretary of State’s
training materials recognize poll workers hold in their hands “the citizen’s right to cast a vote”
and “ensure that eligible citizens are able to cast a vote and have that vote counted.” (State-
Defendants 00008025).

Georgia law vests the responsibility for training poll officers and poll workers with the county
superintendents. O.C.G.A. §§ 21-2-70(8), 21-2-99(a). The responsibility for ensuring uniformity
in the practices of poll officers and the fair, legal and orderly conduct of elections is vested in the
State Election Board. O.C.G.A. § 21-2-31(1), (2). A mandatory state-directed uniform training
program for poll workers is the best way to ensure “the citizen’s right to vote” is protected and
“eligible citizens are able to cast a vote and have that vote counted.”

If poll workers are not complying with their statutory duties or implementing practices that
hinder voters in exercising their rights, it will be the State Elections Board and Secretary of State
that will ultimately have to answer for that failure.

The Office of Secretary of State has developed a 104 page manual for poll workers. The Poll
Worker Manual, 2018 Edition. (State-Defendants 00008952-9059). It appears this manual is
designed to assist superintendents in carrying out their statutory training responsibilities. There
are also some related materials about qualifications of poll workers, a sample poll worker
training certificate, as well as instructions and training tips directed to superintendents. (State-
Defendants 00009060-9070). No State Election Board rules or Office of the Secretary of State
directives require this manual be used in poll worker training although the Secretary of State
encourages its use in poll worker training.

Although the manual contains helpful information, it is far from comprehensive and contains
large chunks of statutory language that are difficult to understand. It also takes an inappropriately
passive approach to issuing provisional ballots, which appears from my review of complaints in
the 2018 general election to be a significant source of inconsistent practices. (State-Defendants
00018885 – 00036315).

The chief state election official must develop and mandate a robust training program for the
election personnel that are the primary contact with voters when casting their ballots. This is



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necessary to ensure uniform practices throughout Georgia and that poll workers are adequately
trained in “the use of voting equipment, voting procedures, all aspects of state and federal law
applicable to conducting elections, and the poll officers’ or poll workers’ duties in connection
therewith . . . .” as required by law. xxxiv

It is my understanding that the Office of the Secretary of State is focused on developing and
implementing a training program for election officials including poll workers for the new
electronic voting system which has been piloted in a handful of counties and will be deployed
statewide for the March 2020 presidential primary. It is also my understanding that a new poll
worker manual has been prepared, but that manual has not yet been produced in this case.

My opinion is based on The Poll Worker Manual, 2018 Edition. To the extent the new poll
worker manual contains the same deficiencies I identify in this report, my opinion also addresses
the new manual.

My comments on The Poll Worker Manual, 2018 Edition, are intended to illustrate key elements
that must be incorporated in order to have more robust training for poll workers that provides
confidence poll workers will help, not hinder, voter participation and are mindful of the integrity
and importance of the vote of each citizen. I do not believe a single manual can effectively serve
as the end all of a robust training program. It is important to have a wide range of resources that
are part of the training and accessible to election officials and poll workers during voting.

It is logical to organize an Election Day training program chronologically from setting up and
opening the polling place; checking in voters; confirming voter identity; issuing ballots; handling
absentee, challenged and provisional ballots; to wrapping up, closing the polling place and
transporting ballots, results and closing documentation. However, this information has to be
presented in a user-friendly manner that makes it easier for the poll workers to understand what
is expected and required.

The manual opens with two pages of statutory language about poll worker qualifications,
conduct and training. In fact, 23 of the 104 pages consist of statutory language. (Pages 1, 2, 5, 6,
24, 25, 29, 45-47, 51-59 and 69-71) It is essential for poll workers to have access to the law
because a plain language description of legal requirements may not be comprehensive. However,
if a poll worker is reading the manual to gain an understating of what is required, a recitation of
statutory language will not effectively convey that information. A narrative description of each
step will be easier to digest.

However, narrative information needs to be accented and augmented with visual information to
illustrate key components such as signage and acceptable voter identification. Flow charts,
checklists and step-by-step procedures are also important elements for conveying critical
information. These tools will also facilitate comprehension of the required information.

The 104 page manual contains 17 pages of forms, 19 pages of flow charts, 11 pages of step-by-
step instructions and 10 pages dedicated to troubleshooting particular issues such as problems
setting up voting equipment. These are helpful tools that can convey critical information, but as
presented they lack context.



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One contextual element that is missing is a focus on the voter as the central actor in Election Day
scenarios. It is important for the poll workers to be presented with the voter’s perspective. This
provides the “why” we are doing this that is essential to getting poll worker buy-in to the
required procedures.

There are 26 pages in the manual devoted to provisional and challenged ballots. Twelve pages
consist of language from the applicable statute or State Election Board rule. There is no voter-
centric context to provide a perspective why these procedures are important. Interestingly, the
manual seems to suggest that issuing a provisional ballot is an optional procedure. On page 20 in
the flowchart, the language is if a voter “would like to be issued a provisional ballot” because for
some reason they cannot vote at the polling place. On page 30, the voter “may vote a provisional
ballot” if they do not have acceptable identification. On page 42, the voter “may be offered a
provisional ballot” if the voter’s name cannot be located on the voter list.

Provisional voting is a complex procedure with many different scenarios. The instructions in the
manual are overly simplified, do not provide the full context for provisional ballots or a reference
to where complete information can be found. Given the importance of provisional ballots as a
mechanism for protecting voter rights, this part of the manual is woefully deficient.

The manual allocates six pages to voter identification including one page of statutory language.
There are four pages of examples of acceptable identification documents. Interestingly, there is
only one person of color depicted in the 12 examples of acceptable identification. Given
Georgia’s history of discrimination, the manual should reflect the diverse composition of the
electorate.

This dissection of the primary example of poll working training developed at the state level
illustrates what a state-directed poll worker training program has to contain if it is going to
provide a comprehensive, user friendly training experience for the front line workers in election
administration. A model state-directed training initiative for poll workers must provide
participants in the electoral process with confidence that poll workers know their responsibilities,
will help, not hinder, voter participation and are mindful of the integrity and importance of the
vote of each citizen.

Accountability for Election Official Performance

The most robust, comprehensive training program can be a wasted effort if there is not an
effective means of holding election officials accountable for properly performing their duties and
helping not hindering voter participation in the electoral process. Georgia has three
accountability mechanisms in place. There are statutory training and certification requirements
for superintendents and registrars. xxxv There appears to be a monitoring program in place where
investigators from the Secretary of State’s Office are present at some voting locations during
elections. The State Election Board has the authority to investigate irregularities and fraud in the
administration of elections. xxxvi




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These are important accountability tools, but they are not effectively utilized by the State
Election Board and the Secretary of State.

Election superintendents and voter registrars are required to take a minimum of 12 hours of
annual training. This requirement can be met through participation in the annual conference. The
State Election Board can fine individual election officials and their government employer for
failure to attend the required training. O.C.G.A. § 21-2-100(e).

Election superintendents, voter registrars and absentee ballot clerks are required to complete a
certification program offered by the Secretary of State within six months of their appointment.
The certification program consists of up 64 hours of online or in-person training and includes an
exam. The State Election Board can fine individual election officials and their government
employer for failure to complete the certification. Id. § 21-2-101(d).

This would be a powerful tool to ensure compliance with the minimum training requirements if it
was implemented consistently, in a timely and transparent manner. I have no information on how
often election officials fail to complete the certification or training. In his deposition, Chris
Harvey suggests that if local election officials do not comply with the law they are subject to
sanctions from the State Election Board. He refers to that process as “the stick” to ensure
compliance. Deposition of Chris Harvey, 96:21-25 (Aug. 16, 2019). However, the State Election
Board meets on ad hoc basis at most a few times a year.

Chris Harvey also suggested that counties regularly pay attention to complaints involving
election officials before the State Elections Board. Id. at 196:12-25 197:1-11. He believes this
has a deterrent effect and county election officials will learn from the transgressions of other
county election officials. But he provided no basis for this belief and I saw no documents
demonstrating that counties pay attention to complaints before the State Election Board. The
counties are not informed when State Election Board minutes and transcripts are posted online.
The lack of a regular schedule provides no predictability to when minutes and transcripts may be
posted. In addition, there appears to be a long lag time between the date of a meeting and when
minutes and transcripts are posted online. The training materials do not emphasize the
consequences election officials face if they do not comply with state and federal election
administration requirements.

My review of complaints considered by the State Election Board shows a large number are
disposed of without any action. It also takes two to three years before a complaint is presented to
the State Election Board. In cases involving local election officials failing to comply with the law
where a sanction is imposed, a letter of instruction seems to be the most common penalty. If
there is a more egregious case it seems that the election official has already left government
service.

The Georgia State Election Board and Secretary of State need to better track and analyze in a
comprehensive, transparent manner recurring voter issues that impact individuals’ voting rights.
There is no comprehensive, transparent monitoring system for tracking the receipt and
disposition of election complaints. Most complaints appear to come to the Secretary of State




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through emails or telephone contacts. Complaints filed through the Secretary of State’s website
generate an email for review by the Election Director or Deputy Election Director.

Chris Harvey testified in his depositions that there is no logging system for complaints.
Deposition of Chris Harvey, 116:18-117:12__(Aug. 16, 2019), 267:21-268:4 (Dec. 5, 2019).
There is no categorization, analysis or quantification of the complaints. Deposition of Chris
Harvey, 134:14-19 (Aug. 16, 2019), 268:5-16 (Dec. 5,2019). There is no tracking of the
disposition of complaints. Id. at 116:18-120:14, 129:7-19 (Dec. 5, 2019). There are also no
written procedures for Secretary of State staff on how to handle complaints including criteria for
assessing the seriousness of complaints. (Deposition of Chris Harvey, 129:7-19 (Aug. 16, 2019),
263:10-267:20__ (Dec. 5, 2019).

There are commercial software applications designed for customer service centers that could be
modified to facilitate tracking complaints. If complaints are properly logged with relevant
information such as the nature of the complaint and where and when it happened, the State
Election Board and Secretary of State would have an effective tool for monitoring election
official compliance and assessing local election official performance.

There seems to be very little information about the Election Day monitoring activities of
investigators with the Office of the Secretary of State. According to Chris Harvey in his
December 5, 2019 deposition, there are about 40-45 investigators from the Secretary of State’s
Office in the field on Election Day. If a violation is observed, it is written up as a complaint and
goes through the investigation process. (Deposition of Chris Harvey, 31:12-32:11 (Dec. 5, 2019).
This can lead to consideration of the matter by the State Election Board. However, given the
limitations of review by the State Election Board, this accountability mechanism is not timely or
readily transparent to local election officials or the public.

Election Day and advance voting monitoring is also not a comprehensive accountability
mechanism. Georgia has a large number of polling places and advance voting locations. The on-
site investigators cannot cover a significant number at any given election. If Georgia law
permitted nonpartisan observers, the number of eyes on the voting process could be increased
significantly.

In Wisconsin, the state election agency regularly reviews reports from election observers, voter
advocacy groups and disability rights groups following major election events. This provides a
public forum for raising the voting issues and an effective assessment tool for monitoring
election official performance.

One additional tool to ensure compliance would be to require the implementation of an Election
Day observation and post election audit of polling places throughout the state. Observers or
monitors under the direction of the State Election Board would be present at selected polling
places and prepare a report on what they saw and heard. In addition, following the election the
paperwork completed by the poll workers should be reviewed to ensure it was properly
completed.




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While election superintendents should be doing the post election audit as a matter of practice,
having a state representative observing Election Day activities and reviewing post-election
paperwork provides a more objective evaluation. This activity can also be contracted out to an
independent organization specializing in performance audits.

Transparency

Transparency is an essential element of a robust training program. Transparency provides
individuals and organizations with a stake in the electoral process with a window into how it
operates. It is important that there be more transparency for all aspects of Georgia’s election
official and poll worker training program. Currently that is not the case. Members of the public
and the media must have access to training manuals and videos so they can assess the efficacy of
the materials.

Conclusion

I was asked to opine on the basic policies, procedures, and practices that the Georgia Secretary of
State and the State Election Board must have in place in order to train county election
superintendents, registrars and poll workers to carry out their duties and in order to ensure that
elections comply with state and federal election laws and the United States Constitution and
whether those policies, practices, and procedures are in place in Georgia.

I started with a description of a robust top to bottom training program under the direction and
responsibility of the chief state election officer that must be in place to ensure that elections
comply with state and federal election laws and the United States constitution. My analysis
examined the state and federal statutory requirements applicable to the State Election Board and
Secretary of State.

My conclusions are that there is a large portfolio of election official training materials in place in
Georgia. Their strength is the detailed training in support of the technological tools used in
elections particularly the statewide voter registration system. But there is much more to
administering an election than mastering technology. There has to be a focus on the people
involved in elections – primarily the voters and the poll workers.

What is missing and crucial to ensuring Georgia elections comply with state and federal election
laws and the United States Constitution is a robust training initiative for poll workers under the
direction of the Secretary of State. There are several essential elements that need to be integrated
into a state directed poll worker training program. These essential elements should also be
incorporated into the current training program for county election officials.

The first element is a voter focused component to training on duties and responsibilities related
to voter registration, absentee voting, issuing provisional ballots and the voting experience at
advance voting locations and polling places. There needs to be an increased commitment to
accountability of poll workers and county election officials. Developing a tracking mechanism
for election complaints will enable the State Election Board and Secretary of State to identify




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performance issues, track complaint dispositions, tailor training content and target the delivery of
training to election officials who need it the most.

Finally, it is important that there is more transparency for all aspects of Georgia’s election
official and poll worker training. Members of the public and the media should have access to
training manuals and videos so they can assess the efficacy of the materials. They should also
have access to the tracking mechanism for complaints.

I believe these training, tracking, accountability and transparency enhancements will ensure that
Georgia election officials and poll workers are better positioned to carry out their election
administration duties in a manner that helps, not hinders, voter participation, emphasizes the
integrity and importance of the vote of each citizen and complies with state and federal law.



i
  2007 Wisconsin Act 1.
ii
    Effective June 30, 2016, the Government Accountability Board, an independent executive branch agency, was
replaced by two separate legislatively controlled bipartisan commissions, the Wisconsin Elections Commission and
the Wisconsin Ethics Commission. 2015 Wisconsin Act 118.
iii
    https://electioninnovation.org/.
iv
    https://www.usvotefoundation.org/.
v
    https://electionlab.mit.edu/.
vi
    https://www.nap.edu/catalog/25120/securing-the-vote-protecting-american-democracy.
vii
     Wis. Stat § 5.05(7).
viii
     Chapter 334, (Wisconsin) Laws of 1973.
ix
    Wis. Stat § 5.05(7).
x
    Wis. Stat § 7.15.
xi
    Wis. Stat § 7.10.
xii
     Wis. Stat § 7.08(3).
xiii
     Wis. Stat § 7.31 as created by 2001 Wisconsin Act 16, § .
xiv
     Chapter EL 11, Wis. Admin. Code.
xv
     2005 Wisconsin Act 451, § 122, creating Wis. Stat § 7.315.
xvi
     Chapter EL 12, Wis. Admin. Code.
xvii
      https://www.electioncenter.org/certified-elections-registration-administrator.html.
xviii
      https://www.electioncenter.org/about-us.html.
xix
     The National Academies Press, National Academies of Sciences, Engineering, and Medicine, Securing the Vote:
Protecting American Democracy.:. doi: https://doi.org/10.17226/25120, Pp 107-109 (2018).
xx
     42 U.S.C. §§ 15301-15545 (2013).
xxi
     Georgia was entitled to receive $8.6 million in HAVA § 101 payments. 69 Fed. Reg. 14002, 14260, 14247-63
(Mar. 24, 2004).
xxii
      52 U.S.C. §§ 10301-10702.
xxiii
      52 U.S.C. §§ 20501-20511.
xxiv
      52 U.S.C. §§ 20301-20311.
xxv
      52 U.S.C. §§ 20101-20107.
xxvi
      https://public.tableau.com/profile/u.s.election.assistance.commission#!/vizhome/EAVS2016DataViz-
FinalVersion_1/EACDataVizTool.
xxvii
       O.C.G.A. § 21-2-92.
xxviii
       https://sos.ga.gov/index.php/elections/state_election_board.
xxix
      These inferences are supported by the chronological organization of the materials, references within the
materials to outside events such as specific elections, court cases, legislative updates or the implementation of
election-related technology including a new voter registration system, a new e-learning platform and most recently
election security initiatives.
xxx
      https://www.electioncenter.org/certified-elections-registration-administrator.html.



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xxxi
     Email from Tim Mattice, Election Center Executive Director (Nov. 3, 2019).
xxxii
       https://thefactfile.org/us-states-counties/.
xxxiii
       The December 6, 2019 deposition of Kevin Rayburn was presented to me in rough draft form so I am unable to
include specific cites to the material discussed in this report.
xxxiv
       O.C.G.A. § 21-2-99(a).
xxxv
       O.C.G.A. §§ 21-2-100, 21-2-101.
xxxvi
       O.C.G.A § 21-2-31(5).




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List of Cases – Kevin J. Kennedy, Expert Witness – 2016-2019


Louis M. Bouvier, Jr. v. William Clark Porter, IV, No. 17 CVS 3273 (N.C. Super. Ct., Guilford
Cty.) – Deposition, Trial Not Scheduled

One Wisconsin Institute, Inc. v. Mark L. Thomsen, No. 3:15-cv-00324-jdp (W.D. Wis.) – Trial
Testimony, Deposition


List of Publications - - Kevin J. Kennedy – 2010-2019

National Academies of Sciences, Engineering, and Medicine 2018. Securing the Vote: Protecting
American Democracy. Washington, DC: The National Academies Press*
https://doi.org/10.17226/25120

Hands on or Hands Off? – Watchdog Agencies and Their Independence, The Guardian, Volume
38, Issue 1; Spring 2017**




*This publication was crafted and edited individual members of the Committee on the Future of
Voting:Accessible, Reliable, Verifiable Technology for the National Academies of Sciences,
Engineering and Medicine working with a Committee reporter.

**The Guardian is a publication of the Council on Governmental Ethics Laws (COGEL)
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                                     Kevin J. Kennedy
Educational Background

University of Wisconsin-Madison, Law School, J.D. December 1976

University of Wisconsin-Madison, College of Letters and Science, B.A., Honors Candidate in
Mathematics and Communication Arts, May 1974

Professional Qualifications

Admitted to State Bar of Wisconsin, December 27, 1976
Admitted to practice in the Eastern and Western Districts, Wisconsin Federal District Court
Admitted to practice in the Seventh Circuit, United States Court of Appeals

Work Experience

Kennedy Election Law Services
July 2016 to present

Provide consulting services including advice, expert testimony, lectures and speeches in the
areas of election administration, campaign finance and governmental ethics.

Director and General Counsel, Wisconsin Government Accountability Board
November 2007 to June 2016

Serve as chief administrative and legal officer for state agency responsible for administering,
interpreting and enforcing the campaign finance, election, ethics, lobbying and public campaign
funding laws of the State of Wisconsin. Serve as Chief Election Officer for the State of
Wisconsin.

Executive Director, Wisconsin State Elections Board, August 1983 to January 2008

Provide agency leadership on behalf of the Board. Responsible for all administrative duties
including implementing Board policy, preparation of formal opinions, budget development,
legislative activity including administrative rules, staff supervision and development. Carry out
delegated decision making authority with respect to litigation and review of decisions of local
election officials.

Serve as Chief Election Officer for the State of Wisconsin. Responsible for directing the
implementation of federal mandates under Help America Vote Act of 2002 (HAVA). Initiated


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efforts that ensured full accessibility of state polling places including the use of HAVA compliant
voting systems. Developed comprehensive voting system testing and security procedures to
assure the transparency and integrity of the election process.

Acting Executive Secretary, Wisconsin State Elections Board, December 1982 to July 1983

Legal Counsel, Wisconsin State Elections Board, April 1979 to July 1983

Associate, Cyrak Law Offices S.C., Madison and Waterloo, Wisconsin

Assistant District Attorney, Washington County, Wisconsin

Law Student Intern, District Attorney’s Office, Sauk County, Wisconsin

Law Student Intern, Legal Assistance to Institutionalized Persons Program, University of
Wisconsin-Madison, Law School

Professional Organizations

Massachusetts Institute of Technology Election Data Science Lab Board, 2017 to present

Center for Election Innovation & Research Board, 2017 to present

U.S. Vote Foundation Board, 2017 to present

The Madison Institute Board, 2017 to present

State Bar of Wisconsin, 1976 to present

Dane County Bar Association, 1977 to present

Member, Council on Governmental Ethics Laws (COGEL), 1986 to present

Member, Past President, National Association of State Election Directors (NASED), 1990 to
present

National Academies of Sciences Engineering and Medicine

Member, Committee on the Future of Voting: Accessible, Reliable, Verifiable Technology
February 2017 to September 2018

Produced Consensus Study Report - Securing the Vote: Protecting American Democracy,
September 2018



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American Law Institute (ALI)

Serve as Adviser on ALI’s Principles of Election Law: Dispute Resolution Project. February 2011
to June, 2016

Pew Center on the States

Voter Registration Modernization Working Group – July 2009-August 2014

Election Performance Index Working Group – July 2010- October 2013

Council of State Governments (CSG)

Member, Policy Advisory Board, Overseas Voting Initiative. February 2014 to June 2016

United States Election Assistance Commission

Wisconsin State Representative – Standards Board, 2004 – 2008.

Election Center, 1988 to 2017

Co-Chair of the National Task Force on Election Reform responsible for the preparation of two
comprehensive reports on election reform in 2001 and 2005. Member, Professional Education
Program Committee. Certified Elections and Registration Administrator (CERA) - Completed
professional certification program (2003) and recertification program (2006, 2009, 2012, 2015,
2018) Member, Election Hall of Fame

Federal Election Commission (FEC)

Member of the National Advisory Panel of State and Local Election Officials. Served on an
advisory panel for the FEC Ballot Access publications.


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Appendix A
Description of facts, data and materials examined and considered in preparation of report.

Statutes, Rules and Regulations

Help America Vote Act of 2002 (HAVA), 52 U.S.C. §§ 20601-21145

The Voting Rights Act of 1965 (VRA), 52 U.S.C. §§ 10301-10702

National Voter Registration Act of 1993 (NVRA), 52 U.S.C. §§ 20501-20511

Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA), 52 U.S.C. §§ 20301-20311

Voting Accessibility for the Elderly and Handicapped Act, 52 U.S.C. §§ 20101-20107

69 Fed. Reg. 14002 (Mar. 24, 2004)

Official Code of Georgia Annotated, Title 21 Elections

Georgia Administrative Code, Title 183 State Election Board,

Wisconsin Statutes; Chapter 5, Chapter 7

Wisconsin Administrative Code; Chapter EL 11, Chapter 12

Wisconsin Session Laws; 1973 (Chapter 334), 2005 (Act 451), 2007. (Act 1), 2015 (Act 118)


Pleadings and Depositions

Plaintiffs’ Amended Complaint

Deposition of Chris Harvey, August 16, 2019

Deposition of David Worley, October 10, 2019

Deposition of Rebecca Sullivan October 15, 2019

Deposition of Seth Harp, October 16, 2019

Second Deposition of Chris Harvey, December 5, 2019

Rough Draft of Deposition of Kevin Rayburn, December 6, 2019

Report of Dr. Khalilah L. Brown-Dean, August 16, 2019


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Report of Dr. Adrienne Jones, August 16, 2019


Materials Produced in Discovery

I reviewed hundreds of documents produced by the State-Defendants. Some of the specific
documents I relied on for this report include:

GEOA/VRAG Annual Conference PowerPoint, STATE-DEFENDANTS 00002381-00007500

GEOC Certification Program, STATE-DEFENDANTS 00007768-00008243

The Poll Worker Manual, 2018 Edition, STATE-DEFENDANTS 00008952-00009059

Miscellaneous Materials from Secretary of State Related to Poll Worker Training, STATE-
DEFENDANTS 00009060-00009070

Miscellaneous 2019 Training Materials, STATE-DEFENDANTS 00008732-00008837

Email Complaints from November 2018 General Election, STATE-DEFENDANTS 00018885-
00036315


Georgia Federal Court Decisions

Georgia Coalition for the People’s Agenda, Inc. v. Kemp, 347 F. Supp. 3d 1251 (N.D.
Ga. 2018)

Common Cause of Georgia v. Kemp, 347 F. Supp. 3d 1270 (N.D. Ga. 2018)

Democratic Party of Georgia, Inc. v. Crittenden, 347 F. Supp. 3d 1324 (N.D. Ga. 2018)


Websites

https://sos.ga.gov/
https://ga.gov
https://elections.wi.gov
https://eac.gov
https://electioninnovation.org/
https://www.usvotefoundation.org/
https://electionlab.mit.edu/
https://national academies.org
https://www.nap.edu/
https://www.electioncenter.org



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https://thefactfile.org/us-states-counties/


Other Materials

Securing the Vote: Protecting American Democracy, Report of Committee on the Future of
Voting:Accessible, Reliable, Verifiable Technology for the National Academies of Sciences,
Engineering and Medicine

Interview with Matt Masterson, Former Commissioner, U.S. Election Assistance Commission,
November 6, 2019

Interview with Merle King, Former Director Kennesaw State university, Center for Elections
Systems, November 12, 2019

Interview with Tammy Patrick, Former Federal Coordinator, Maricopa County, Arizona County
Clerk, November 13, 2019




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                        CERTIFICATE OF SERVICE

   I hereby certify that on this, the 16th day of December 2019, I electronically

filed the foregoing EXPERT REPORT OF KEVIN J. KENNEDY with the

Clerk of Court using the CM/ECF system, which will automatically send

notification of such filing to Counsel of Record:

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